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                                  UNITED STATES DISTRICT COURT
                                                          ** Plea Minutes **

Date: 06/26/2020                                                                        Case #: 1:20-cr-00073-TSE-1
Time: 03:00 p.m. – 04:11 p.m. (01:11)                                          Interpreter/Lang: N/A


                             Honorable T.S. ELLIS III, United States District Judge, Presiding

                                    Tanya Randall                                  Patricia Kaneshiro-Miller
                                   Courtroom Deputy                                     Court Reporter

    UNITED STATES OF AMERICA
               v.                                      Deft appeared: [ X ] in person                      [   ] failed to appear
                                                                      [ X ] with Counsel                   [   ] without Counsel
     THOMAS RICHARD GALLOWAY                                          [ ] through Counsel


                AMY WILSON                                                         CARINA CUELLAR
                Counsel for Defendant                                              Counsel for Government

Matter called for:
[ X ] Pre-Indictment Plea                [     ] Change of Plea                    [    ] Plea Agreement

Filed in open court:
[ X ] Information    [ X ] Plea Agreement [ X ] Statement of Facts                              [ X ] Waiver of Indictment

Arraignment & Plea:
 [ ] WFA     [ ] FA           [   ] PG

Plea:
[ X ] Deft entered a Plea of Guilty as to Count(s) 1 of the [               ] Indictment         [ X ] Information
[ X ] Plea accepted by the Court.
[   ] Deft waived right to PSI and consent to proceed with sentencing.
[   ] Motion for Dismissing Count(s)                            by [   ] US or [       ] Deft
[   ] Order entered in open court              [   ] Order to follow
[ X ] Deft directed to USPO for PSI          [ X ] Yes      [     ] No
[ X ] Case continued to: OCTOBER 30, 2020                                at 09:00 A.M. for:
      [   ] Jury Trial   [    ] Bench Trial        [    ] Pre-Guidelines Sentencing               [ X ] Guidelines Sentencing

     Oral Motion to Defer Reporting -DENIED.




[ X ] Deft remanded [        ] Deft Released on Bond [            ] Deft Continued on same bond conditions
